
GRITT, JUDGE:
An application of the claimant, David B. Evans, for an award under the West Virginia Crime Victims Compensation Act, was filed August 11, 2000. The report of the Claim Investigator, filed March 12, 2001, recommended that no award be granted, to which the claimant timely responded. An Order was issued on April 16,20 01, u pholding t he Investigator's r ecommendation, in r esponse tow hich t he claimant's request for hearing was filed May 10, 2001. This matter came on for hearing October 19, 2001, the claimant appearing in person, and the State of West Virginia by counsel, Joy M. Bolling, Assistant Attorney General.
The 48-year-old claimant was attacked with a knife and struck in the head by an assailant on March 3, 2000, in Charleston, Kanawha County. The offender, Keisha Hayes, was charged with malicious wounding.
This Court’s initial denial of an award was based on the alleged contributory misconduct of the claimant. The Claim Investigator’s report indicated that the claimant and the offender were in the offender’s apartment drinking beer when the claimant began making unwanted advances toward her. When she refused, he physically assaulted her, grabbed the television remote control, and attempted to leave the residence. She then attacked him.
At the hearing, the claimant testified that he and the offender were at her residence watching TV when she stated that she wanted to sleep for an hour (Transcript, p age 6). H e t old h er, “ Well, if yo u’re g oing tos leep, I’mg oing t o *494leave.” When he left, she chased him down the steps and accused him of taking her remote control (Transcript, page 7).
When the claimant was “about three or four houses from the comer,” the claimant came running up to him and struck him on the arm. She also knocked his hat and glasses off, and that is when he. saw the knife (Transcript, page 7). The claimant stated that as he walked away, he felt wetness on his arm, took off his coat, and saw blood. He called 911 and was taken to the hospital (Transcript, page 8). The claimant testified that he had known the offender for five years, and that she had never been violent toward him.
As for his damages, the claimant stated that he missed either three or five days of work, and has incurred medical expenses (Transcript, page 15).
At the request of the Court, the Claim Investigator was directed to prepare an economic loss analysis of the claimant’s out-of-pocket losses in this matter. By memorandum dated December 7, 2001, the Investigator found said losses to be in the amount of $325.49. Accordingly, an award in that sum is hereby granted, as documented in said memorandum.
